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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                  ORLANDO DIVISION

     UNITED STATES OF AMERICA

     vs.                                           CASE NO. 6:09-CR-159-ORL-19KRS

     BRIDGET BREAUX

                                               ORDER

             This case having been considered by the Court on Report and Recommendation

     Concerning Plea of Guilty (Doc. No. 42, filed September 21, 2009) and no objection thereto

     having been filed, it is ORDERED:

             1.     The Report and Recommendation of the United States Magistrate Judge (Doc.

     No. 42) is ACCEPTED, AFFIRMED AND ADOPTED.

             2.     Defendant Bridget Breaux has entered a plea of guilty to Counts Twelve and

     Thirteen of the Indictment knowingly, intelligently and voluntarily. Such plea is accepted,

     and Defendant is adjudicated guilty of Counts Twelve and Thirteen of the Indictment.

             3.     Ruling on acceptance of the Plea Agreement (Doc. No. 38, filed September

     22, 2009) is deferred until the time of sentencing.

             DONE AND ORDERED at Orlando, Florida, this           29th       day of September,

     2009.
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     Copies to:
     Assistant United States Attorney
     Attorney for Defendant
     United States Marshal
     United States Probation
     United States Pretrial Services
     Defendant
     Courtroom Deputy
